Case 2:90-cv-00520-KJM-SCR Document 1754          Filed 02/03/06   Page 1 of 12
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                           IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF CALIFORNIA




     RALPH COLEMAN, et al.,                               CIV S-90-0520 LKK JFM P

                                            Plaintiffs,   SUPPLEMENTAL NOTICE
                                                          INCLUDING CHAPTER 2 IN
                   v.                                     REVISED PROGRAM GUIDE

     ARNOLD SCHWARZENEGGER, et al.,

                                          Defendants.



                         JANUARY 2006 REVISED PROGRAM GUIDE

                                       CHAPTER 2
  Case 2:90-cv-00520-KJM-SCR            Document 1754         Filed 02/03/06      Page 2 of 12

Reception Center                               Mental Health Services Delivery System
Mental Health Assessment


CHAPTER 2
Reception Center Mental Health Assessment

A. INTRODUCTION

   The reception center program provides mental health assessment for all inmates committed to
   the California Department of Corrections and Rehabilitation (CDCR) and basic treatment for
   those inmates identified as having a serious mental disorder (SMD) while awaiting transfer.

   By enhancing and standardizing screening and evaluation efforts at the entry point into the
   prison system, the Department can best assure that all inmates in need of mental health
   treatment are identified and provided necessary services at the earliest possible time. Early
   and easy access to care has been shown to have both therapeutic as well as fiscal benefits in
   managing mental illness at its lowest level of acuity. This is particularly true in the high
   stress environment of a prison setting.

   This program utilizes clinical and clerical positions to achieve the following objectives:

   1.   Provide a standardized system for universal screening of all inmates received in the
        CDCR for possible symptoms of mental disorder or suicide risk.

   2.   Conduct in-depth clinical evaluations of individuals identified in the screening process
        for diagnosis of serious mental disorder, level of functioning, and necessary level of
        care.

   3.   Through the Inmate Mental Health Identifier System (IMHIS), CDCR is able to track
        inmate-patients who have been identified as seriously mentally disordered and enrolled
        in one of the Mental Health Services Delivery System (MHSDS) levels of care. This
        information provides a management tool and is utilized in program planning.

   It is important to emphasize that the population this program seeks to identify is defined as,
   those inmates who are dysfunctional in the prison environment as a result of a serious mental
   disorder. Specifically, these are inmates with a Diagnostic and Statistical Manual Axis I
   diagnosis, with current symptoms, or evidence of medical necessity. Inmates with this
   diagnosis who are able to function at higher levels as a result of the use of psychotropic
   medications are also included. Inmates suffering suicidal ideation may also receive crisis care
   to protect life.     Mental health intervention is also provided to treat significant


______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-1
  Case 2:90-cv-00520-KJM-SCR           Document 1754        Filed 02/03/06     Page 3 of 12

Reception Center                              Mental Health Services Delivery System
Mental Health Assessment

   disability/dysfunction in an individual diagnosed with or suspected of having a mental
   disorder.

   Commonly regarded mental health issues which may be identified in the screening process,
   but which are not included in the treatment services provided by the Department’s mental
   health treatment programs are sexual and substance abuse disorders, and personality
   disorders. However, if these mental health issues are also accompanied by an Axis I serious
   mental disorder, or meet the requirements of medical necessity, treatment is provided by the
   Department’s mental health treatment programs. While all inmates are screened in the RC for
   developmental disabilities, services for inmates with developmental disabilities, although
   provided by mental health staff in numerous institutions, are not addressed in this Program
   Guide, as they fall under the oversight of the Clark Remedial Plan. Inmates with
   developmental disabilities who also have an Axis I serious mental disorder are, of course,
   included in the MHSDS and some inmates with developmental disabilities may be included in
   MHSDS programs under medical necessity criteria.

B. POLICIES AND PROCEDURES FOR ASSESSMENT OF MENTAL HEALTH
   NEEDS

  Goal and Target Population: To identify and assign an appropriate level of care to inmates
  who are suicidal or are experiencing impaired functioning as a result of serious mental
  disorder.

  Policies To Achieve Goal:

  1.    All inmates shall receive an Initial Health Screening by nursing staff within 24 hours of
        arrival to determine need for continuation of currently prescribed and used psychotropic
        medications, need for crisis psychiatric care, or other mental health intervention.

   2.   All inmates shall receive a Mental Health screening within the first seven calendar days
        of arrival to identify mental health concerns that may indicate a need for treatment.

   3.   All inmates with possible mental health treatment needs shall receive a standardized
        mental health evaluation within 18 calendar days of arrival, and prior to any placement
        decision.

   4.   All inmates who request a clinical interview shall receive one.

   5.   Any Reception Center Staff may refer any inmate for clinical interview at any time.



______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-2
  Case 2:90-cv-00520-KJM-SCR            Document 1754         Filed 02/03/06      Page 4 of 12

Reception Center                               Mental Health Services Delivery System
Mental Health Assessment

   6.   All mental health screening and evaluation interviews shall be conducted in a private
        setting.

   7.   All Psychological evaluations shall conclude with a provisional diagnosis, level of
        functioning, and recommended level of care placement, if required.

   8.   Mental health services shall be provided to inmates while awaiting transfer.

   9.   In order to facilitate long range planning, each reception center shall accumulate and
        regularly report data on all inmates screened, evaluated, and determined to be in need of
        particular levels of treatment.

C. PROCEDURES TO IMPLEMENT POLICIES

  1.    Initial Health Screening of Inmates at Receiving and Release (CDCR 7277)

        Upon arrival at the Reception Center (RC), and under the supervision of a Registered
        Nurse (RN), Medical Technical Assistants (MTA), or equivalent staff who have been
        trained in the procedures for the standardized health screening and mental health
        referrals, shall review available documentation from committing jurisdictions regarding
        mental health treatment. This includes medications provided at County facilities, or
        observed behavior that may be indicative of a need for such treatment. All inmates shall
        be interviewed, utilizing a standard set of questions regarding their medication needs or
        need for immediate referral for crisis care. This interview shall be conducted in an
        environment which is sufficiently private to encourage honest responses. Inmates who
        are unable to speak English shall be provided with necessary interpreters. Where a need
        for emergency or urgent psychiatric review is identified, a direct referral to a psychiatrist
        shall take place, utilizing a standard CDCR 128-MH5, Mental Health Referral Chrono,
        with the original to the psychiatrist with a copy to mental health office for data entry and
        filing. These Chronos should be hand delivered or this information relayed by telephone,
        if necessary. Emergency referrals shall be made and responded to immediately. Urgent
        referrals, including medication assessment or review, shall be responded to within 24
        hours. Observation of possible mental health symptoms not requiring emergency
        attention may also be documented on a staff referral chrono and forwarded to the mental
        health office within the next working day. Clinical evaluation and health transfer
        information from committing counties relating to a need for medical or mental health
        care or assessment are to be placed in the inmate’s Unit Health Record (UHR).



   2.   Physical Exam
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-3
  Case 2:90-cv-00520-KJM-SCR          Document 1754        Filed 02/03/06     Page 5 of 12

Reception Center                             Mental Health Services Delivery System
Mental Health Assessment


        Within three working days of arrival, all inmates shall undergo a physical examination
        and evaluation of medical history. Any mental health issues that become apparent in the
        interviews by the physician, RN, or MTA conducting the reviews, shall be documented
        on staff referral chronos for subsequent mental health evaluation. Emergency or urgent
        cases requiring crisis care or medication review shall be immediately referred for
        psychiatric evaluation.

   3.   Mental Health Screening

        Within seven calendar days of arrival at the reception center, all inmates (new
        commitments and parole violators) shall receive a screening for possible mental health
        needs. They shall be individually interviewed by a psychologist or Psychiatric Social
        Worker (PSW) who shall explain the purpose of the screening process, and assess the
        inmate's ability to complete the interview. Inmates who are unable to speak English
        shall be provided with necessary interpreters. Inmates who refuse to participate in the
        mental health screening interview shall be referred for a psychological evaluation to
        determine if they have a mental disorder. Individuals who are unable to participate in
        the screening interview due to possible acute psychiatric distress shall be immediately
        referred for crisis care. This will normally include a referral for an emergency
        psychiatric evaluation (see section 5 below, Psychiatric Evaluations).

        If a returning Parole Violator identifies himself or herself as a former MHSDS inmate-
        patient, the file review indicates such designation, or DDPS indicates such designation,
        he or she shall be automatically referred for further Psychological Evaluation.

        Following completion of the screening interview, the completed screening form shall be
        forwarded to the mental health data processing station for analysis. The results of this
        screening shall be documented by mental health staff on a CDCR 128-MH1, Mental
        Health Screening Chrono. Refusals to participate and any need for an interpreter shall
        also be documented on this Chrono. Each case shall be either cleared for general
        population placement, scheduled for a full Psychological evaluation within 18 calendar
        days, or immediately referred for crisis care, as needed.

        Information from the Screening Form shall be retained in the automated system for
        future reference and data compilation.



   4.   Psychological Evaluations

______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-4
  Case 2:90-cv-00520-KJM-SCR          Document 1754         Filed 02/03/06     Page 6 of 12

Reception Center                             Mental Health Services Delivery System
Mental Health Assessment

       Inmates referred for psychological evaluation who have been identified in the initial
       mental health screening as having a possible mental health need or who refused the
       screening, shall be scheduled for a full psychological evaluation to be completed by
       the 18th calendar day after arrival. Preparatory to the evaluation, the inmate's UHR and
       Central Files shall be reviewed when available, by the clinician. The results of the
       clinical screening assessment, including working diagnosis, shall be reviewed, as will
       any information generated from staff or self-referrals to that point. If the inmate states
       that he or she had significant prior treatment or the file review indicates history of such
       treatment, the clinician shall request that the inmate sign a Release of Information in an
       attempt to obtain previous records. The clinician shall immediately forward the signed
       Release of Information form to the Health Record Services staff. Health Record staff
       shall process all requests for information from external sources, and shall monitor the
       receipt of the requested information. All received health information shall be
       immediately incorporated into the appropriate UHR with simultaneous notification to
       the requesting health care personnel, consistent with the Health Record policies and
       procedures. If the inmate has been moved to another institution, the Health Record staff
       shall check OBIS/DDPS to determine the inmate’s current location and forward the
       information immediately to the Health Record Services supervisor at the current
       location.

       The psychologist shall conduct an individual interview with the inmate in a private
       setting. Where possible, the psychologist will utilize a computer terminal for reference
       and input in completing the evaluation. Identifying information already available in the
       computer will be verified in the file review and inmate interview.

       The psychological evaluation shall be recorded on the form CDCR 7386, Mental Health
       Evaluation. The psychologist shall obtain and input a brief narrative of the presenting
       problem and historical information of relevance from the files and interview. A mental
       status examination and assessment of level of functioning will be completed, with the
       results directly entered into the computer on pre-programmed screens (or hard copy
       forms, where automated systems are not available). A provisional diagnosis shall be
       noted and, where this includes a Diagnostic and Statistical Manual (DSM) Axis I
       condition, a level of functioning assessment shall also be provided.

       After arriving at a diagnosis and functioning assessment, the psychologist shall
       determine need for treatment and recommend a level of care, based upon the level of
       acuity and treatment program criteria. The psychologist’s findings shall be documented
       on a CDCR Form 128-MH3, Mental Health Placement Chrono. Where possible needs
       for psychotropic medication are present, and no current prescription has been made, a
       referral to the psychiatrist shall be made, utilizing a standard CDCR 128 MH5, Mental
       Health Referral Chrono. A copy of the completed Chrono requesting medication
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-5
  Case 2:90-cv-00520-KJM-SCR           Document 1754        Filed 02/03/06      Page 7 of 12

Reception Center                             Mental Health Services Delivery System
Mental Health Assessment

       assessment shall be immediately provided to the psychiatrist. The psychiatrist’s
       decision regarding the medication needs shall be documented in CDCR 128-MH6,
       Psychiatric Evaluation Chrono and the Interdisciplinary Progress Notes in the inmate’s
       UHR. An initial treatment plan pending transfer to an appropriate level of care shall
       also be provided by the psychologist on a CDCR Form 7386, Mental Health Evaluation,
       and by the psychiatrist where medication or crisis care is necessary. Inmates who are
       acutely psychotic or suicidal shall be referred for placement in crisis beds or emergency
       transfer to the Department of Mental Health (DMH) facility at the California Medical
       Facility (CMF) or to Patton State Hospital (PSH) for female inmates.

       Pending release or transfer to an appropriate housing unit, all inmate-patients in a
       Reception Center who are identified as requiring mental health services shall receive
       basic treatment as specified in the initial treatment plan. The initial treatment plan is an
       integral part of the Psychological Evaluation and formulated to meet individual inmate-
       patient’s clinical needs while housed in the Reception Center unit awaiting transfer. The
       level of treatment provided during the transition period for these inmate-patients varies
       depending on the clinical needs and the length of stay as determined by the commitment
       status. The initial treatment plan is tailored to meet individual inmate-patient’s clinical
       needs on a short-term basis and specifies the type of services, including orientation,
       medication needs assessment or regular monitoring, crisis intervention, as needed, and
       individual contact with a treating clinician as often as necessary.

       Inmates who have no diagnosed mental illness, or whose current level of functioning is
       adequate without need for treatment (including psychotropic medications) shall be
       cleared for general population placement.

       Inmates, who are seen by the psychologist as a result of a staff or self-referral after the
       completed evaluation, shall be assessed for necessary adjustments to the original
       evaluation or treatment plan. Where such adjustments are indicated, new documentation
       will be generated.

       Following entry of all elements of the psychological evaluation into the automated
       system, a CDCR 128-MH1, Mental Health Screening Chrono shall be generated for the
       inmate’s UHR. The Chrono shall be provided for the Central File, with copies to the
       correctional counselor (CC) and inmate. The 128-MH1, Mental Health Screening
       Chrono, shall be completed whether the inmate requires treatment or is cleared for
       general population placement. The original document shall be dated and signed by the
       clinician completing the evaluation.

       If an inmate refuses to participate in the psychological evaluation interview, the
       clinician shall review the Central File, Unit Health Record, and reports from housing
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-6
  Case 2:90-cv-00520-KJM-SCR           Document 1754        Filed 02/03/06      Page 8 of 12

Reception Center                              Mental Health Services Delivery System
Mental Health Assessment

        officers and/or other staff, and make clinical observation of the inmate. Clinicians shall
        make an effort to resolve refusal cases by the end of the 18 calendar day evaluation
        period. In those rare situations where these cases cannot be resolved during the 18
        calendar day evaluation period, the clinician shall document this in the placement
        chrono. The clinician shall include a description of what efforts were made to complete
        the evaluation (e.g., review Central File and UHR, consult with housing officers, etc.)
        and a recommendation of how to proceed with the case. The Chief of Mental Health at
        the institution reviews all refusals and approves the clinician’s recommendations. The
        results of the psychological evaluation shall be documented on a Mental Health
        Placement Chrono (MHPC), CDCR128-MH3. If the inmate is not transferred out of the
        Reception Center within 90 days, a new MHPC shall be completed.

   5.   Psychiatric Evaluations

        Psychiatric Evaluations will primarily address the issues of need for acute care and
        initiation or continuation of psychotropic medications. Review of need for continuation
        of medications prescribed prior to commitment to prison will normally occur within 24
        hours of intake. A medication specific informed consent with signatures of psychiatrist,
        inmate-patient, and a witness (health care staff) will be completed whenever a new
        medication is ordered. Psychiatric evaluations will be documented on a CDCR 7230,
        Interdisciplinary Progress Note or MH-7, which will be placed in the inmate’s Unit
        Health Record, and completion of a 128C, Psychiatric Evaluation Chrono, for entry into
        the central file. Inmate-patients requiring follow-up psychiatric care while awaiting
        transfer will be scheduled for that purpose, with documentation of clinical contacts
        recorded in the inmate-patient’s Unit Health Record progress notes. Changes in mental
        status which impact placement decisions will also be documented on CDCR 128-MH6,
        Psychiatric Evaluation Chronos.

        Psychiatrists are also responsible to review an inmate’s response to and side effects of
        psychiatric medications and to order and review appropriate laboratory testing. Where
        staffing permits, psychiatrists may also serve Clinical Case Manager (CCM) functions.




   6.   Initial Treatment Planning and Treatment

        Initial treatment planning must be developed and regular treatment must be provided for
        all inmate-patients who are identified as requiring mental health services. Mental
        Health needs of inmate-patients housed in a Reception Center are often greater than
        those of inmates in a general population setting, due to a variety of problems related to
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-7
  Case 2:90-cv-00520-KJM-SCR            Document 1754        Filed 02/03/06      Page 9 of 12

Reception Center                              Mental Health Services Delivery System
Mental Health Assessment

        incarceration which often precipitate dysfunctional behavior or exacerbate pre-existing
        mental conditions. Treatment plans must address basic issues of adjustment, access to
        care, monitoring of medication continuity, clinical pre-release or parole planning.

        Without exception, mental health services are extended to all MHSDS designated
        inmate-patients while awaiting transfer to a mainline institution. Services include case
        management contacts and medication management and monitoring pertinent to the level
        of functionality based on clinical judgment. In addition, crisis intervention, clinical pre-
        release or parole planning, and other case management services shall be provided
        consistent with the inmate’s clinical needs. Services are provided through existing
        CCCMS staff assigned to the RC.

        Inmate-patients who require Enhanced Outpatient Program (EOP) level of care shall be
        seen by the CCM weekly and shall be evaluated by a psychiatrist at least monthly
        regarding psychiatric medication issues. Institutions that have both a reception center
        and an established EOP program may temporarily house and treat these inmate-patients
        in their regular EOP housing units until transfer.

        Inmate-patients who require Correctional Clinical Case Management System (CCCMS)
        level of care shall be seen by the CCM within 30 days of placement in CCCMS and at
        least every 90 days thereafter while at the RC, or more often if clinically indicated.
        These inmate-patients shall also be evaluated by a psychiatrist a minimum of every 90
        days regarding psychiatric medication issues.

   7.   Transfer Timelines

        Once an inmate-patient is evaluated and placed in the MHSDS program, the inmate-
        patient shall be processed by classification staff on a priority basis to ensure timely
        transfer to a treatment setting. All EOP designated inmate-patients shall be transferred
        to a treatment setting within 60 days of level of care designation, or 30 days of such
        designation, if clinically indicated. All CCCMS designated inmate-patients, with the
        exception of parole violators with 90 days or less to parole shall be transferred to a
        mainline institution within 90 days of level of care designation or 60 days of such
        designation, if clinically indicated. Inmates with less than 30 days to parole shall
        receive mental health services as described above, consistent with their clinical needs.
        Refer to transfer timeline table in Chapter 1, Program Guide Overview.

   8.   Staff and Self Referrals

        At any time during the Reception Center process, an inmate may refer himself or herself,
        or be referred by any staff member for a review by a mental health clinician. Referrals
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-8
 Case 2:90-cv-00520-KJM-SCR          Document 1754        Filed 02/03/06     Page 10 of 12

Reception Center                            Mental Health Services Delivery System
Mental Health Assessment

       will be made on standardized forms and forwarded to the mental health office. All
       referrals will be entered into the data system to assure responses and facilitate
       scheduling.

       Crisis cases identified by clinical and custody staff will be immediately referred to a
       psychologist or psychiatrist. Medication issues identified by clinical staff will be
       immediately referred to the psychiatrist.

       Staff referral: Any staff member who observes possible signs or symptoms of a serious
       mental disorder may refer an inmate for clinical evaluation by completing a CDCR
       128-MH5, Mental Health Referral Chrono, and handle as Self-referral process below.
       Any inmate who is observed to be a suicide risk, or in any other condition that requires
       crisis care, shall be immediately screened by a CCM to assess the potential for suicide
       and, if appropriate, referral to the MHCB for admission. On weekends and holidays,
       refer to Self-referral process below.

       Self referral: Inmates may request a clinical interview to discuss their mental health
       needs. These requests are made on a Health Care Services Request Form, CDCR 7362.
       Mondays through Fridays, the following shall occur:

          a) A health care staff member shall collect the CDCR Forms 7362 and staff
             referral forms each day from the designated areas.

          b) Upon receipt of the collected forms, an RN/MTA shall initial and date each
             CDCR Form 7362 and staff referral form.

          c) The CDCR Forms 7362 and mental health staff referral forms shall be delivered
             to the designated program representative in mental health services, dental
             services, or pharmacy services for same-day processing.

       On weekends and holidays, the following shall occur:

          a) The Treatment and Triage Area RN shall review each mental health staff
             referral form and CDCR Form 7362 for medical, dental, and mental health
             services, shall establish priorities on an emergent and non-emergent basis, and
             shall refer accordingly.

          b) If a mental health clinician is not available, the medical officer of the day
             (MOD), physician on call or psychiatrist on call shall be contacted.



______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-9
 Case 2:90-cv-00520-KJM-SCR             Document 1754         Filed 02/03/06      Page 11 of 12

Reception Center                               Mental Health Services Delivery System
Mental Health Assessment

         Inmates will be seen by a mental health clinician or on weekends by the MOD,
         physician or psychiatrist on call within the clinically determined time frame.

            a) Emergent – Emergency cases will be seen immediately or escorted to the
               Treatment and Triage area

            b) Urgent – Urgent cases will be seen within 24 hours

            c) Other Other cases will be seen within five working days. Copies of staff referral
               forms shall be placed in both the Central File and UHR for future reference.
               Staff members initiating referrals may be contacted directly, as necessary.
               Inmate self-referral forms shall be kept confidential, and the results of these
               interviews documented as deemed appropriate by the clinician.

  9.     Classification File Review

         Correctional Counselors shall conduct a comprehensive central file review for all
         inmates received into the CDCR. This shall include a review of current commitment
         offense records and parole violation reports. Other documentation (e.g., Mental Health
         Placement Chronos or Probations Officers’ Reports) containing information about prior
         mental health issues or placement in mental health treatment programs, or prior criminal
         history shall also be reviewed for indications of mental health needs, if applicable. A
         face-to-face interview shall also be conducted. The CC shall complete a staff referral
         when there are indications of a need for a mental health evaluation. The specific
         reason(s) for the mental health evaluation shall be noted on the CDCR Form 128-MH5,
         Mental Health Referral Chrono. Clinical recommendations for treatment shall be
         utilized in determining institutional placement.

  10.    Placement Decisions

         The completed case file with results of mental health evaluations will be reviewed by
         Classification Staff Representatives for final placement decisions. Where treatment is
         required, the decision will necessitate placement in an institution with the availability of
         the recommended level of care (inpatient, (Mental Health Crisis Bed (MHCB), EOP, or
         CCCMS), consistent with the Department’s policy on placements, based on security
         requirements.

   11.   Data Processing

         A data processing station within mental health services at each Reception Center will
         process screening assessments, receive all referrals for evaluation, schedule clinicians to
______________________________________________________________________________
July 2004 (Revised 01-30-06)        12-2-10
 Case 2:90-cv-00520-KJM-SCR          Document 1754        Filed 02/03/06     Page 12 of 12

Reception Center                            Mental Health Services Delivery System
Mental Health Assessment

       conduct evaluations, process (type, record, distribute) completed evaluations, track
       inmates through the stages of assessment, and submit periodic summaries of required
       data to institutional administrative staff and headquarters. It is important to emphasize
       that, in order to ensure the accurate collection of data; the system will be utilized by
       appropriately trained CDCR staff and will provide adequate safeguards to protect the
       security and confidentiality of the data. Inmate clerks are banned from having access to
       documents or records containing other inmates’ mental health information (CCR, Title
       15, § 3354, (b), (6)).




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July 2004 (Revised 01-30-06)        12-2-11
